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     "lltAO 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
                                                                                                                                                            r.. . '·
                Sheet I                                                                                                                                     ;.~




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                                                UNITED STATES DISTRICT COURT
                                                                                                                                                                                  "1'

                                                    SOUTHERN DISTRICT OF CALIFORNIA                                                   '--'I   ,   .•       ":;;t~I·~,f   .... /.L.~'·-:~'i.,


                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                  ~'(
                                                                                                                                                                   ~
                                          v.                                       (For Offenses Committed On or After November I, 19                                       __ 11       Pj'Y"




                   BENJAMIN ARELLANO-FELIX (1)                                     Case Number: 97CR2520-LAB
                                                                                   NICHOLAS DEPENTO, RETAINED
                                                                                   Defendant's Attorney
    REGISTRATION NO. 00678748

    D
    THE DEFENDANT:
    181 pleaded gUilty to count(s) ONE AND TWO OF THE SUPERSEDING INFORMATION
    D was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                        Count
    Title & Section                            Nature of Offense                                                                                       Number(s)
18 USC 1962(c)                          Conducting the Affairs of an Enterprise Through a Pattern of Racketeering Activity                             1
18 USC 371                              Conspiracy to Launder Monetary Instruments                                                                     2




        The defendant is sentenced as provided in pages 2 through      4    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count{S) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) remaining                                                             is   D     are   181 dismissed on the motion ofthe United States.
 181 Assessment: $100.00 per count, total $200.00

 181 No fine                                          181 Forfeiture pursuant to order filed            2116/2012             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               A ri12, 2012
                                                                              Date of ImPzon of Sentence



                                                                              HONLARR~~S
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                            97CR2520-LAB
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AD 2458 (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                             Judgment - Page   2     of      4
 DEFENDANT: BENJAMIN ARELLANO·FELIX (1)
 CASE NUMBER: 97CR2520-LAB
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
        Count 1 - 20 years
        Count 2 - 5 years
        All counts to run consecutive

    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op·m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ----------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                   to

 at _____________________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL

                                                                       By
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     97CR2520-LAB
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                           Judgment-Page   -L.... of _ _.;.4_ __
DEFENDANT: BENJAMIN ARELLANO-FELIX (1)                                                             II
CASE NUMBER: 97CR2520-LAB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years, each count concurrent

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
  The detendant shall comply with tile requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 1690I, et seq.) as directed
D by the probation officer, the Bureau ofPrisons, or any state sex: offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission 0 f the court; and
  \3)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                   97CR2520-LAB
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        AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                        Judgment-Page   -.:I:...- of _...:4!:-__
       DEFENDANT: BENJAMIN ARELLANO-FELIX (1)                                                      II
       CASE NUMBER: 97CR2520-LAB




                                               SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
181 The defendant shall not commit another federal, state or local crime.
o Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o psychiatrist/physician,
  Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
                          and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation
    officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within          days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                    97CR2520-LAB
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    8                                  UNITED STATES DISTRICT COURT
    9                               SOUTHERN DISTRICT OF CALIFORNIA
   10      UNITED STATES OF AMERICA,                   )      Case No. 97cr2520-LAB
                                                       )
   11                            Plaintiff,            )
                                         )                    ORDER OF CRIMINAL
   12           v.                       )                    FORFEITURE
                                         )
   13      BENJAMIN ARELLANO-FELIX,      )
                aka El Senor,            )
   14           aka El Min,              )
                aka 76,                  )
   15           aka 7-7,                 )
                akaMK,                   )
   16           aka Licenciado Sanchez,  )
                aka Licenciado Alegria,  )
   17                                    )
                              Defendant. )
   18
           ------------------~)
   19             WHEREAS, in the Superseding Information in the above-captioned case, the United States
   20      sought forfeiture of $100,000,000.00 (one hundred million U.S. dollars) of the above-named
   21      Defendant, BENJAMIN ARELLANO-FELIX ("Defendant"), pursuant to Title 18, United States
   22      Code, Sections 1963 and 982; and

   23             WHEREAS, on or about January 4,2012, Defendant pled gUilty to both counts of the

   24      Superseding Information, which plea included a consent to the forfeiture allegations and an

   25      agreement to entry of a $100,000,000.00 judgment against the Defendant in favor of the
   26      United States pursuant to 18 U.S.C. § 1963 and 18 U.S.C. § 982; and

   27 II          WHEREAS, by virtue of the admissions of the Defendant set out in the plea agreement and

   28 II   guilty plea, the Court determined that $100,000,000.00 U.S. dollars represents the amount of
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    1       properties obtained as a result of the racketeering offenses and represents the value of the

    2       properties involved in the laundering conspiracy offense in violation of, respectively, 18 U.S.C.

    3       §§ 1962, 371, and 1956 as set forth in the Superseding Infonnation; and

    4              WHEREAS, by virtue of said guilty pleas and the Court's findings, the United States is

    5       now entitled to an Order of Forfeiture and a judgment in its favor against the Defendant in the

    6       amount of $100,000,000.00, pursuant to 18 U.S.C. §1963, 18 U.S.C. § 982 and Rule 32.2(b) of the

    7       Federal Rules of Criminal Procedure; and

    8 II           WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

    9       that the forfeiture consists ofa money judgment;" and

   10              WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

   11       established the requisite nexus between the judgment and the offense; and

   12              WHEREAS, the United States, having submitted the Order herein to the Defendant through

   13 II    his attorneys of record, to review, and no objections having been received;

   14 II           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

   15 II            1.     Defendant BENJAMIN ARELLANO-FELIX shall forfeit to the United States the

   16 II    sum of $100,000,000.00 pursuant to 18 U.S.C. §§ 1963 and 982; and

   17 II           2.      Judgment shall be entered in favor of the United States against Defendant

   18 II    BENJAMIN ARELLANO-FELIX in the amount of $ 100,000,000.00 with interest to accrue

   19       thereon in accordance with law; and

   20               3.     This Court shall retain jurisdiction in the case for the purpose of enforcing the orde

   21 II    of forfeiture and collecting and enforcing the judgment; and

   22 II            4.     Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to the

   23 II    Defendant at the time of sentencing and is part of the sentence and included in the judgment; and

    24 II           5.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

    25 II   Order of Forfeiture to substitute property having a value not to exceed $100,000,000.00 together

    26 II   with all accrued interest to satisfy the money judgment in whole or in part; and

    27      II
    28      II

                                                            2                                  97cr2520
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     1             6.       The United States may take any and all actions available to it to collect and enforce
     2 II   the judgment.

    3              DATED: 2/16/2012

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                                                          ~A·~~. BURNS, u ge
                                                          United States District Court

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